                    Case
AO 245B-CAED (Rev. 3/04)   2:11-cr-00008-JAM
                         Sheet                             Document
                               1 - Judgment in a Criminal Case        31 Filed 06/27/11 Page 1 of 7

                                 United States District Court
                                        Eastern District of California

         UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                    v.                                                (For Offenses Committed On or After November 1, 1987)
          DONALD WAYNE JOHNSON                                        Case Number: 2:11CR00008 -01


                                                                      DOUGLAS BEEVERS, AFD
                                                                      Defendant’s Attorney

THE DEFENDANT:
[U]     pleaded guilty to count: 1 of the Indictm ent .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                                         Date Offense          Count
Title & Section                   Nature of Offense                                      Concluded             Number
18 USC 2252(a)(2)                 RECEIPT AND DISTRIBUTION OF                            11/21/2010            1
                                  PORNOGRAPHY W ITH PRIOR CONVICTION
                                  (Class B Felony)




       The defendant is sentenced as provided in pages 2 through 7 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.


[U]     Count 2 of the Indictm ent is dism issed on m otion of the United States.


                         [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid. If ordered to pay restitution, the defendant m ust notify the court and United States
attorney of m aterial changes in econom ic circum stances.

                                                                                        6/21/2011
                                                            Date of Im position of Judgm ent

                                                            /s/ John A. Mendez
                                                            Signature of Judicial Officer

                                                            JOHN A. M ENDEZ, United States District Judge
                                                            Nam e & Title of Judicial Officer

                                                            6/27/2011
                                                            Date
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                         Sheet 2 - Imprisonment            Document 31 Filed 06/27/11 Page 2 of 7
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                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of 180 MONTHS .




[U]     The court m akes the following recom m endations to the Bureau of Prisons:
        The Court recom m ends that the defendant be incarcerated in a facility outside of California, but only insofar as this
        accords with security classification and space availability.


[U]     The defendant is rem anded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
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                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of LIFE .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[U]      The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
         jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
         employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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                                SPECIAL CONDITIONS OF SUPERVISION
        1.    As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.

        2.    The defendant shall submit to the search of his person, property, house, residence, vehicle,
              papers, computer, other electronic communication or data storage devices or media, and effects
              at any time, with or without a warrant, by any law enforcement or probation officer in the lawful
              discharge of the officer’s supervision functions with reasonable suspicion concerning unlawful
              conduct or a violation of a condition of probation or supervised release. Failure to submit to a
              search may be grounds for revocation. The defendant shall warn any other residents that the
              premises may be subject to searches pursuant to this condition.

        3.    The defendant shall not possess or use a computer or any device that has access to any “on-line
              computer service” unless approved by the probation officer. This includes any Internet service
              provider, bulletin board system, or any other public or private computer network.

        4.    The defendant shall have no contact with children under the age of 18 unless approved by the
              probation officer in advance. The defendant is not to loiter within 100 feet of school yards,
              parks, playgrounds, arcades, or other places primarily used by children under the age of 18. This
              shall include that the defendant is not to engage in any occupation, either paid or volunteer,
              which exposes him directly or indirectly with children under the age of 18.

        5.    The defendant shall consent to the probation officer and/or probation service representative
              conducting periodic unannounced examinations of (a) any computer, or (b) computer-related
              device, or (c) equipment that has an internal or external modem which is in the possession or
              control of the defendant. The defendant consents to retrieval and copying of all data from any
              such computer, computer-related device, or equipment as well as any internal or external
              peripherals to ensure compliance with conditions. The defendant consents to removal of such
              computer, computer-related device, and equipment for purposes of conducting a more thorough
              inspection; and analysis.

              The defendant consents to having installed on any computer, computer-related device, and
              equipment, at the defendant’s expense, any hardware or software systems to monitor the use of
              such computer, computer-related device, and equipment at the direction of the probation officer,
              and agrees not to tamper with such hardware or software and not install or use any software
              programs designed to hide, alter, or delete his/her computer activities. The defendant consents
              to not installing new hardware without the prior approval of the probation officer.

        6.    The defendant shall not possess, own, use, view, read, or frequent places with material depicting
              and/or describing sexually explicit conduct, including computer images, pictures, photographs,
              books, writings, drawings, videos, or video games. “Sexually explicit conduct” as defined in 18
              USC 2256(2) means actual or simulated (a) sexual intercourse, including genital-genital, oral-
              genital, or oral-anal, whether between the same or opposite sex; (b) bestiality; (c) masturbation;
              (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any
              person.
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        7.    The defendant shall consent to third-party disclosure to any employer or potential employer,
              concerning any computer-related restrictions that are imposed upon him/her. This includes any
              activities in which you are acting as a technician, advisor, or consultant with or without any
              monetary gain or other compensation.

        8.    The defendant shall attend, cooperate with, and actively participate in a sex offender treatment
              and therapy program [which may include, but is not limited to, risk assessment, polygraph
              examination, computer voice stress analysis (CVSA), and/or ABEL assessment] as approved
              and directed by the probation officer and as recommended by the assigned treatment provider.

        9.    The defendant shall register, as required in the jurisdiction in which he resides, as a sex
              offender.
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                              5 - Criminal Monetary Penalties   Document 31 Filed 06/27/11 Page 6 of 7
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                                          CRIMINAL MONETARY PENALTIES
      The defendant m ust pay the total crim inal m onetary penalties under the Schedule of Paym ents on Sheet 6.

                                                    Assessm ent                          Fine                     Restitution
       Totals:                                         $ 100                              $                           $


[]     The determ ination of restitution is deferred until        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determ ination.

[]     The defendant m ust m ake restitution (including com m unity restitution) to the following payees in the am ount listed below.

       If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned paym ent, unless
       specified otherwise in the priority order or percentage paym ent colum n below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victim s m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                   Restitution Ordered      Priority or Percentage


       TOTALS:                                          $                                $




[]     Restitution am ount ordered pursuant to plea agreem ent $

[]     The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on Sheet
       6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]        The court determ ined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirem ent is waived for the                 [ ] fine          [ ] restitution

       [ ] The interest requirem ent for the                [ ] fine   [ ] restitution is m odified as follows:




[]     If incarcerated, paym ent of the fine is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .

[]     If incarcerated, paym ent of restitution is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .




  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
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                                             SCHEDULE OF PAYMENTS


      Paym ent of the total fine and other crim inal m onetary penalties shall be due as follows:

A     [ ] Lum p sum paym ent of $        due im m ediately, balance due

            []    not later than  , or
            []    in accordance with         [ ] C,   [ ] D,   [ ] E, or         [ ] F below; or

B     [U]         Paym ent to begin im m ediately (m ay be com bined with        [ ] C,   [ ] D, or [ ] F below); or

C     [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $  over a period of       (e.g., m onths or years),
          to com m ence     (e.g., 30 or 60 days) after the date of this judgm ent; or

D     [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $ over a period of   (e.g., m onths or years),
          to com m ence     (e.g., 30 or 60 days) after release from im prisonm ent to a term of supervision; or

E     [ ] Paym ent during the term of supervised release will com m ence within          (e.g., 30 or 60 days) after release from
          im prisonm ent. The court will set the paym ent plan based on an assessm ent of the defendant’s ability to pay at that tim e;
          or

F     [ ] Special instructions regarding the paym ent of crim inal m onetary penalties:




Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the Federal Bureau
of Prisons' Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

[]    Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), Total Am ount, Joint and Several
Am ount, and corresponding payee, if appropriate:




[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[X]   The prelim inary order of forfeiture filed 4/18/2011 shall be incorporated into this judgm ent.
